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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

J&K BODY SHOP, INC., ET AL.,                       )
                                                   )
                             Plaintiffs,           )
vs.                                                )      NO. CIV-11-0077-HE
                                                   )
ZURICH AMERICAN INSURANCE CO.,                     )
ET AL.,                                            )
                                                   )
                             Defendants.           )

                                            ORDER

       Plaintiffs J&K Body Shop, Inc. (“J&K”) and Bryan Key sued defendants Zurich

American Insurance Company (“Zurich”) and Universal Underwriters Insurance Company

(“Universal”) alleging defendants breached an insurance policy and violated their duties of

good faith and fair dealing. Defendants have moved for summary judgment on both claims.

The court concludes that no genuine issue of material fact exists and defendants are entitled

to judgment as a matter of law.

                                           Background

       The relevant facts are largely undisputed.1 On May 17, 2009, J&K’s office was

burglarized and certain items inside the office were stolen or damaged. The burglars did not

enter J&K’s garage or shed. [Doc. #32-1, Deposition of Bryan Key, p.81]. At the time of the

burglary, J&K carried an insurance policy with Universal. Mr. Key, the owner of J&K,



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        Plaintiffs’ three page summary judgment response makes no effort to respond directly to
the specific facts asserted in defendants’ brief, which facts may therefore be deemed admitted.
LCvR 56.1(c). Further, the bulk of the assertions in the response are supported with nothing
more than conclusory statements that certain facts are true.
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purchased the policy for J&K and was listed as an “other insured” on it. [Doc. #32-4]. The

policy provided coverage for the damaged or stolen property and for lost business income

caused by the burglary. See generally Doc. Nos. 32-3, 32-5. On August 10, 2009, J&K filed

a claim for loss or damage to several office chairs, one calculator, two cameras, one caller

ID device, window blinds, and one computer. It also submitted a claim for damage to a light

fixture, a front glass door, an internal door frame and hinges, two office doors, a shelf, the

office carpeting, and a desk, and for the costs of having the office cleaned and repainted.

[Doc. #32-7].

       J&K reopened for business immediately following the burglary. [Def. Fact 16]. Mr.

Key testified in his deposition that he spent three or four days seeking bids to have the office

repainted, that the repainting process took most of a week, and it took several days to install

carpet in the office. [Doc. #32-1, Deposition of Bryan Key, pp. 81-100]. He also indicated

it took him several hours to compile the list of damaged and stolen items and that he spent

between 16 and 24 hours contacting, or trying to contact, the insurance adjuster. Mr. Key

states he spent at least three days shopping for and purchasing a computer, and a couple of

days doing the same for the two cameras. J&K had other employees who did not deal with

the claim directly and continued working during this time.

       Universal paid plaintiffs $2,871.94 for damage to the building and $2,733.20 for

damage to repair and replace the property damaged or stolen inside the office. [Doc. #32-

18]. Plaintiffs do not object to defendants’ handling of the property damage claim. The

present dispute involves only J&K’s lost business profits.

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       The insurance policy contained a business recovery expense endorsement which

obligated Universal to pay “the extra expenses and reduction of business income” J&K

incurred as a result of the burglary. [Doc. #32-3]. The policy stated that Universal would

pay those expenses “for as long as it reasonably takes to restore the damaged or destroyed

building or contents, and to resume operations with the same quality of service which existed

immediately before [the burglary], regardless of the expiration date of this policy.” This

endorsement was applicable only to the named insured—J&K. [Doc. #32-4].

       Some time prior to September 25, 2009, J&K submitted its claim for lost income.

[Doc. #32-9]. Universal maintains it did not receive all necessary financial statements to

support this claim, however, until August 31, 2010. [Doc. #32-16]. Defendants’ submissions

establish that multiple requests were made to plaintiffs over the next several months for

further financial information. Plaintiffs’ submissions do not dispute that those requests were

made, but indicate plaintiffs were required to submit some responsive information more than

once. [Doc. #33-1]. Universal offered J&K $2,231 on its lost business income claim on

October 20, 2010. [Doc. #32-17]. After plaintiffs objected to that amount, on December 1,

2010, J&K doubled the amount to $4,462 and sent a check to J&K, which was refused. [Doc.

#32-18].

       Plaintiffs filed suit in state court against Zurich on December 8, 2010. Defendant

timely removed the action to this court. [Doc. Nos. 1, 1-1]. Plaintiffs then filed an amended

complaint adding Universal as a defendant. [Doc. #18]. Defendants now seek summary

judgment, arguing that Zurich cannot be liable to plaintiffs because it was not a party to the

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contract, that Mr. Key cannot recover individually because he was not covered by the

endorsement at issue, and that plaintiffs have otherwise failed to produce sufficient evidence

in support of their claims. [Doc. #32].

                              Summary Judgment Standard

       Summary judgment is appropriate only when the moving party demonstrates that no

genuine dispute of material fact exists and it is entitled to judgment as a matter of law. Fed.

R. Civ. P. 56(a). A party who bears the burden of proof at trial on a claim or defense must

be able to point to sufficient evidence to support each essential element of the claim or

defense in order to avoid summary judgment. Bruner v. Baker, 506 F.3d 1021, 1025 (10th

Cir. 2007); Fed. R. Civ. P. 56(c)(1)(B). All inferences from the evidence are to be viewed

in the light most favorable to the non-moving party. Mountain Highlands, LLC v. Hendricks,

616 F.3d 1167, 1169-70 (10th Cir. 2010). Applying this standard to the present case, the

court concludes plaintiffs have not presented evidence sufficient to create a triable issue of

fact and that summary judgment in defendants’ favor is appropriate.

                                          Discussion

       Plaintiffs assert two claims against the defendants. They assert defendants breached

the insurance contract by refusing to pay the amounts plaintiffs claim as lost income for the

period from May through October of 2009. They also assert that defendants’ handling of the

claim breached their duty of good faith and fair dealing. The obligation to deal fairly and in

good faith arises out of the insurance contract, but is the basis for a separate cause of action

sounding in tort. See Christian v. American home Assur. Co., 577 P.2d 899, 904 (Okla.

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1977).

A. Breach of Contract

         In order to avoid summary judgment on the breach of contract claims in the

circumstances existing here, plaintiffs must produce evidence sufficient to create a justiciable

issue of fact as to the elements of a breach of contract claim—that they entered into an

insurance policy with the defendants, that defendants failed to perform under the policy, and

that plaintiffs suffered injury as a result. See Digital Design Group, Inc. v. Info. Builders,

Inc., 24 P.3d 834, 843 (Okla. 2001) (setting out the elements for a breach of contract claim).

         The contract claim against Zurich is readily resolved by noting it was not a party to

the insurance contract. It is undisputed that the policy involved here was issued only by

Universal and that Zurich was not a party to it. [Def. Fact 8.] Plaintiff states that Universal

is a subsidiary of Zurich, but that is of no moment unless there is some basis shown for

ignoring the separate corporate entities. See Okla. Oncology & Hematology P.C. v. US

Oncology, Inc., 160 P.3d 936, 945 & nn.17-18 (Okla. 2007) (absent extraordinary

circumstances, a parent corporation and its wholly-owned subsidiary are separate legal

entities and the parent neither enjoys the rights nor incurs the obligations of the subsidiary).

Plaintiff has not attempted such a showing. Summary judgment will therefore be entered in

Zurich’s favor as to the purported contract claim.

         Similarly, it is clear the contract claim at issue here—based on the alleged failure to




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reimburse for lost business income—does not extend to Mr. Key.2 While Mr. Key was

named as an additional insured on the policy, it is undisputed that the business income

coverage extended only to the named insured—J&K. [Def. Fact 7; Doc. #32-4]. Summary

judgment must therefore be entered in defendants’ favor as to any contract claim by Mr. Key.

       The remaining issue concerning the contract claim is whether plaintiff has proffered

evidence sufficient to create a justiciable question as to whether Universal breached the

insurance policy by refusing to pay amounts properly due to plaintiffs as lost business

income. Plaintiffs assert J&K experienced losses in excess of $120,000 due to the burglary,

pointing to a claimed reduction in income for the period from May through October of 2009.

They rely on a letter from their accountant describing a year-to-year reduction in gross

income figures for the indicated six month period.

       Even evaluating all evidentiary submissions in the light most favorable to plaintiffs,

they have not produced evidence to show that Universal breached the agreement. Universal

tendered $4,462 to J&K and the proffered evidence does not support an inference that J&K

was entitled to more than that. The business recovery expense endorsement obligated

Universal to pay the extra expenses and reduction in business income J&K incurred due to

the burglary. However, it was required to pay those expenses only for the time it should

reasonably have taken J&K to resume normal operations. Plaintiffs’ assertion that it took



       2
         The body of both the original petition and the amended complaint refer only to Mr. Key
as the plaintiff. The court assumes, as J&K and Mr. Key are both listed in the caption of the
case, that both are intended to be plaintiffs.

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J&K six months to resume normal business operations is not supported by the evidence.

       The $2,231 originally offered by Universal was based on J&K’s total sales for May,

2009—the month of the burglary. See Def. Fact 16. It calculated J&K’s average daily sales

by assuming that all its May sales were generated before the burglary and then used that

average to calculate estimated lost income for the remaining eleven days of the month.

Because J&K was open for business and in fact had sales in May after the burglary, that

calculation plainly overstated the daily loss to J&K. Further, the calculation was based on

gross profit (i.e. gross sales less cost of goods sold) rather than net profit, the standard under

the policy provision,3 and therefore overstated the loss on that basis. For those reasons,

defendant reduced the calculation by half to reach the $2,231 figure. Plaintiff offers no

evidence or argument which undercuts defendant calculation of the daily loss or the loss

figure based on that. Moreover, defendant’s doubling of the amount to $4,432 eliminates any

conceivable question as to accuracy of the loss calculation unless some basis is shown for

concluding J&K was entitled to be paid for more than the liberally calculated losses

estimated for roughly two weeks of operation.

       The only evidence relating to the adequacy of the lost business income payment to

which plaintiffs’ response points is a letter from plaintiffs’ accountant. That letter stated that

J&K’s gross income between May and October of 2009 was $121,360.79 less than its gross


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        [Def. Fact 5]. Plaintiffs’ response suggests that Mr. Key’s understanding of the
contract with Universal Underwriters Insurance was that it involved gross rather than net
amounts. That assertion in plaintiffs’ response is not supported by any evidence and is, in any
event, contrary to the plain language of the policy. See Doc. #32-3.

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income during the same period in 2008. However, the letter makes no effort to address

J&K’s net income during the period, which is the pertinent inquiry under the policy

coverage. Further, the letter offers no support for plaintiffs’ assertion that the reduction

during this six month period was attributable to the burglary.4 Plaintiffs’ submissions are

insufficient to show a justiciable question as to the contract claim.5

B. Duty of Good Faith and Fair Dealing

       An insurer can be held liable for violating its duty of good faith and fair dealing when

there is a “clear showing” the insurer unreasonably withheld payment for a covered claim.

Christian, 577 P.2d at 905. An insurer does not act unreasonably by denying a claim if there

is a legitimate dispute over coverage. See id. at 904-05.

       As discussed above, Zurich was not a party to the insurance policy between plaintiffs

and Universal. Therefore, it could not have unreasonably failed to pay a claim because it was

not plaintiffs’ insurer. Additionally, because plaintiffs have not established J&K was entitled

to any more than the $4,462 Universal tendered, Universal did not act unreasonably in

denying plaintiffs’ claim for over $120,000 in lost business profits. At the very least there

was a legitimate dispute over the amount of plaintiffs’ claim. The only other evidence to



       4
        Plaintiffs’ response adds the following: “A decrease is a decrease, and an increase is an
increase. There is nothing to opine about numbers. Numbers are factual.” This explanation
does not fill the evidentiary gap.
       5
         While the court is under no obligation to construct a response brief for the defendant, it
has reviewed the deposition of Mr. Keys attached to defendants’ submissions. That testimony
does not plausibly support an inference that it took more than the equivalent of two entire weeks
to restore J&K’s operations.

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which plaintiffs’ response points is a letter from plaintiffs’ former counsel dated August 4,

2010, requesting prompt processing of the claim and asserting that Mr. Key’s CPA had

submitted financial information a month before which defendant was still requesting. The

letter is not sufficient to create a justiciable question of bad faith, even if the multiple levels

of hearsay are overlooked.6 Summary judgment must therefore be entered in defendants’

favor as to the claims alleging breach of the duty of good faith and fair dealing.

                                          Conclusion

       As plaintiffs have failed to produce evidence sufficient to create a justiciable issue as

to either their breach of contract or bad faith claims, defendants’ motion for summary

judgment [Doc. #32] is GRANTED as to all claims.

       IT IS SO ORDERED.

       Dated this 20th day of October, 2011.




       6
       The letter is the lawyer’s statement of what Mr. Key told him about what Mr. Key’s
accountant did or said he did.

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